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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA




IN RE: OIL SPILL BY THE OIL RIG
“DEEPWATER HORIZON” IN THE
GULF OF MEXICO, ON APRIL 20, 2010                  MDL 2179

                                                   SECTION: “J”
This Document Applies to:
                                                   JUDGE BARBIER
No. 12-970, Bon Secour Fisheries, Inc., et al.
v. BP Exploration & Production Inc., et al.        MAG. JUDGE SHUSHAN




    INDEX OF EXHIBITS TO GLEN LERNER’S RESPONSE TO THE COURT’S
 SEPTEMBER 6, 2013, ORDER TO SHOW CAUSE AND OBJECTIONS TO SPECIAL
                          MASTER’S REPORT

 Exhibit                                         Description
  No.

    1        Declaration of Jeffrey D. Cahill, Dec. Dec. 13, 2013

    2        Declaration of Susan DeSantis, Dec. 2, 2013

    3        Affidavit of Christina E. Mancuso, Oct. 13, 2013

    4        Excerpts of Sworn Statement of Jonathan Andry, July 30, 2013

    5        Excerpts of Sworn Statement of Patrick A. Juneau, Aug. 1, 2013

    6        Excerpts of Sworn Statement of Glen Lerner, July 31, 2013

    7        Excerpts of Sworn Statement of Christine Reitano, July 29, 2013

    8        Excerpts of Sworn Statement of Lionel “Tiger” Sutton, Esq., III, July 29, 2013

    9        Spreadsheet: Number of Times Sutton Accessed CAO Database for Each Claimant




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Exhibit                                      Description
 No.

  10      Spreadsheet: Claims for Andry Clients for which Sutton Accessed by CAO
          Database at Least Once

  11      Spreadsheet: Number of Claimants for Whom Sutton Accessed Their Computer
          Records (By Law Firm)

  12      E-mail from Lionel Sutton to Glen Lerner, May 9, 2013 (SM-01-GL00331-33)

  13      Report regarding Lionel Sutton’s access to database (SM-01-GL00488-507)

  14      Memorandum of Interview of Rebecca Jenkins, July 17, 2013 (SM-01-GL00349-
          51)

  15      E-mail from Glen Lerner to Lionel Sutton, May 9, 2013

  16      E-mail string between Glen Lerner and Lionel Sutton, Mar. 16, 2013 (SM-01-
          GL00279)

  17      E-mail from Glen Lerner to Lionel Sutton, Feb. 15, 2013 (SM-01-GL00280)

  18      Status report from State of Louisiana, Secretary of State regarding Crown LLC
          (SM-01-GL00578-59); Corporate information of Crown LLC from
          crowncleanwater/about/leadership, Aug. 22, 2013 (SM-01-GL00617-18)

  19      E-mail from Christina Mancuso to Casey Thonn, Apr. 3, 2012 (AL1J-000109)

  20      Power of Attorney Form signed by Casey Thonn, June 8, 2012 (AL1J-001668)

  21      Memorandum of Interview of Christina E. Mancuso, Aug. 7, 2013 (SM-01-
          GL00386-88)

  22      E-mail Lionel Sutton to Glen Lerner, July 9, 2013

  23      E-mail string between Glen Lerner and Lionel Sutton, Jan. 29, 2013

  24      E-mail string between Jonathan Andry and Glen Lerner, Dec. 14-17, 2012 (SM-01-
          GL 00302-07)

  25      E-mail from Lionel Sutton to Glen Lerner, Jan. 7, 2013 (SM-01-GL00337-38)

  26      E-mail from Glen Lerner to Jeff Cahill, Jan. 7, 2013 (SM-01-GL00281-84)

  27      E-mail string between Glen Lerner and Susan DeSantis, Mar. 20, 2013




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Exhibit                                      Description
 No.

  28      Deepwater Horizon Claims Center’s Code of Conduct Policy, Oct. 15, 2012 (SM-
          01-GL00020-25)

  29      E-mail from Glen Lerner to Jeff Cahill, Mar. 15, 2013 (SM-01-GL00285)

  30      E-mail from Lionel Sutton to Jeff Cahill, Jan. 7, 2013 (SM-01-GL00293-96)

  31      Check from AndryLerner LLC to Glen Lerner and Associates for $4,940.00, Dec.
          14, 2012 (SM-01-GL-00014); Check from AndryLerner LLC to Glen Lerner and
          Associates for $19,035.02, May 14, 2013 (SM-01-GL-00016); Check from
          AndryLerner LLC to Glen Lerner and Associates for $16,665.21, Mar. 11, 2013
          (SM-01-GL00018)

  32      Wire instructions for credit amount of $$16,665.21, Mar. 28, 2013 (SM-01-
          GL00019)

  33      Wire instructions for credit amount of $19,035.02, July 22, 2013 (SM-01-
          GL00017)

  34      General Ledger Transaction List, Oct. 16, 2013




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